
SULLIVAN, Judge.
For the reasons assigned in the case of Citgo Petroleum Corp. v. Yeargin, Inc. and Continental Casualty Company, 95-1574 (La.App. 3 Cir. 2/19/97); 690 So.2d 154, which was consolidated with this case, the trial court’s judgment is affirmed in part, reversed in part, amended in part and rendered.
Costs of this appeal are assessed to Citgo Petroleum Corporation.
*185AFFIRMED IN PART; REVERSED IN PART; AMENDED IN PART; AND RENDERED.
ON REHEARING
We have granted Citgo Petroleum Corporation’s application for rehearing for the limited purpose of clarifying the issue of legal interest. Our opinion decreed that “CNA’s obligation for settlements entered into by Citgo, INA, U.S. Fire and CIGNA is reduced from $4,964,332.66 to $1,875,000.00 plus interest from date of judicial demand until paid.” We also held that CNA’s obligation for costs of defense is subject to interest from judicial demand until paid. Mover correctly points out that the “date of judicial demand” is different for each of the originally settled cases filed by the injured claimants. Therefore, we amend the prior decree and order that CNA’s obligation is subject to legal interest from the particular dates of judicial demand of each personal injury claimant’s suit.
In all other respects, Citgo’s motion for rehearing is denied.
